







		NO. 12-08-00248-CV


NO. 12-08-00249-CV


NO. 12-08-00250-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS



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IN RE: JAN WORSHAM,

CONTEMNOR§
	ORIGINAL PROCEEDING 


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MEMORANDUM OPINION

PER CURIAM


	On June 9, 2008, this Court initiated contempt proceedings against Jan Worsham pertaining
to three appellate cause numbers, 12-07-00363-CR, 12-07-00364-CR, and 12-07-00365-CR, styled
Ruben Muniz v. State of Texas.  On June 30, 2008, the Court held a hearing, at which Worsham
appeared.  Having concluded that no further action is necessary, we dismiss these original
proceedings.

Opinion delivered August 29, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.













(PUBLISH)


